      Case 3:16-md-02738-MAS-RLS                            Document 33105      Filed 08/21/24   Page 1 of 1 PageID:
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                                                              August 20, 2024

         VIA ECF
         Honorable Rukhsanah L. Singh, U.S.M.J
         United States District Court
         Clarkson S. Fisher Building & US Courthouse
         402 East State Street
         Trenton, NJ 08608

                   Re:       In re: Johnson & Johnson Talcum Powder Products, Marketing,
                             Sales Practices, and Products Liability Litigation
                             Case No.: 3:16-md-02738-MAS-RLS

         Dear Judge Singh:

                We write to request additional pages for purposes of the Rule 702 opposition
         briefs due this Thursday, August 22nd. The Plaintiffs have requested a total of 550
         pages for the opposition briefs. Defendants agree to 425 pages, which they
         represent is 20 more pages than Defendants’ original briefing.

               Thank you in advance for your consideration and resolution of this limited
         dispute.

                                                        Respectfully submitted,

                                        s/ P. Leigh O'Dell              s/ Michelle A. Parfitt
                                        P. Leigh O'Dell                 Michelle A. Parfitt
**Plaintiffs shall be permitted 450
pages for their opposition briefs.
                                          SO ORDERED on this 21st day of August 2024,

                                          _______________________
                                          Michael A. Shipp
                                          UNITED STATES DISTRICT JUDGE
